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              IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF NEW YORK


JOHN DOE,
                  Plaintiff,

            v.                             Civil Action No.
                                           6:17-cv-1202 (MAD/ATB)


THE TRUSTEES OF HAMILTON COLLEGE,
            Defendant.




         ORDER OF DISMISSAL BY REASON OF SETTLEMENT

      The Court has been advised that this action has been settled, or is in

the process of being settled. Accordingly, pursuant to N.D.N.Y. L.R.

68.2(a), it is hereby

      ORDERED as follows:

      (1)   The above-captioned case is hereby dismissed and

discontinued in its entirety, without costs, and without prejudice to the right

of any party to reopen this action within thirty (30) days of the date of this

Order if the settlement is not consummated.

      (2)   Any application to reopen this case must be filed within thirty

(30) days of the date of this Order. An application to reopen filed after the

expiration of that thirty day period, unless it is extended by the Court prior
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to its expiration, may be summarily denied solely on the basis of

untimeliness.

      (3)   If the parties wish for the Court to retain ancillary jurisdiction for

the purpose enforcing any settlement agreement, they must submit a

request that the Court retain jurisdiction over enforcement of the

agreement or submit the agreement to the Court for incorporation of its

terms into an Order retaining jurisdiction within the above-referenced thirty

(30) day period for reopening the matter.

      (4)   The dismissal of the above-captioned action shall become with

prejudice on the thirty-first day following the date of this Order, unless any

party moves to reopen this case within thirty (30) days of the date of this

Order upon a showing that the settlement was not consummated, or the

Court extends the thirty (30) day period prior to its expiration.

      (5)   The Clerk of the Court is respectfully directed to close this

case and forward a copy of this Order to the parties pursuant to the

Court's local rules.

Dated: September 21, 2018
       Albany, NY




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